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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


AIRE TECHNOLOGY LTD.,

                       Plaintiff,                  Case No. 6:21-cv-01104
                                                            ______________

                v.                                 JURY TRIAL DEMANDED


GOOGLE LLC,

                       Defendant.


                       COMPLAINT FOR PATENT INFRINGEMENT
                              AGAINST GOOGLE LLC

       This is an action for patent infringement arising under the Patent Laws of the United States

of America, 35 U.S.C. § 1 et seq., in which Plaintiff Aire Technology Limited (“Plaintiff” or

“Aire”) makes the following allegations against Defendant Google LLC (“Defendant” or

“Google”):

                                       INTRODUCTION

       1.       This complaint arises from Google’s unlawful infringement of the following United

States patents owned by Plaintiff, which relate to improvements in Near Field Communication

(NFC) and secure digital payment solutions: United States Patent Nos. 8,581,706 (“the ’706

Patent”), 8,816,827 (“the ’827 Patent”), 8,205,249 (“the ’249 Patent”), and 8,174,360 (“the ’360

Patent”) (collectively, the “Asserted Patents”).

                                            PARTIES

       2.       Plaintiff Aire Technology Limited is a limited liability company organized and

existing under the law of Ireland, with its principal place of business at The Hyde Building, Suite

23, The Park, Carrickmines, Dublin 18, Ireland. Aire is the sole owner by assignment of all rights,
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title, and interest in the Asserted Patents, including the right to recover damages for past, present,

and future infringement.

       3.       On information and belief, Defendant Google LLC is a wholly-owned subsidiary

of Alphabet, Inc. and a Delaware limited liability company with a principal place of business at

1600 Amphitheatre Parkway, Mountain View, California 94043. Google may be served with

process through its registered agent, the Corporation Service Company dba CSC – Lawyers

Incorporating Service Company at 211 East 7th Street, Suite 620, Austin, Texas 78701. Google

is registered to do business in the State of Texas and has been since at least November 17, 2006.

                                 JURISDICTION AND VENUE

       4.       This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

       5.       This Court has personal jurisdiction over Google in this action because Google has

committed acts within this District giving rise to this action and has established minimum contacts

with this forum such that the exercise of jurisdiction over Google would not offend traditional

notions of fair play and substantial justice.         Google, directly and through subsidiaries or

intermediaries, has committed and continues to commit acts of infringement in this District by,

among other things, importing, offering to sell, and selling products that infringe the Asserted

Patents.

       6.       Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b). Defendant

Google is registered to do business in Texas. Additionally, upon information and belief, Defendant

has transacted business in this District and has committed acts of direct and indirect infringement

in this District by, among other things, making, using, offering to sell, selling, and importing




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products that infringe the Asserted Patents. Google has regular and established places of business

in this District, including at 500 West 2nd Street, Austin, Texas 78701.1 As of June 2019, Google

had more than 1,100 employees in Austin.2 Google currently has, as of October 2021, over 400

job postings for Austin, Texas.3

                                   THE ASSERTED PATENTS

         7.       On November 12, 2013, the United States Patent and Trademark Office issued U.S.

Patent No. 8,581,706 (“the ’706 Patent”), entitled “Data storage medium and method for

contactless communication between the data storage medium and a reader,” after full and fair

examination. Plaintiff is the assignee of all rights, title, and interest in and to the ’706 Patent and

possesses all rights of recovery under the ’706 Patent, including the right to recover damages for

past, present, and future infringement. The ’706 Patent is valid and enforceable. A true and correct

copy of the ’706 Patent is attached hereto as Exhibit 1.

         8.       On August 26, 2014, the United States Patent and Trademark Office issued U.S.

Patent No. 8,816,827 (“the ’827 Patent”), entitled “Data storage medium and method for

contactless communication between the data storage medium and a reader,” after full and fair

examination. Plaintiff is the assignee of all rights, title, and interest in and to the ’827 Patent and

possesses all rights of recovery under the ’827 Patent, including the right to recover damages for




1
  See, e.g., https://www.kvue.com/article/money/economy/boomtown-2040/google-austin-texas-
real-estate-report/269-2ce6e60e-e8c3-46f5-aca6-864175e67950.
2
   See, e.g., https://www.bizjournals.com/austin/news/2019/06/14/google-confirms-austin-
expansion-will-begin-
moving.html#:%7E:text=Google%20currently%20has%20more%20than,people%20operations%
2C%20finance%20and%20marketing.
3
    See https://careers.google.com/jobs/results/?location=Austin,%20TX,%20USA.

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past, present, and future infringement. The ’827 Patent is valid and enforceable. A true and correct

copy of the ’827 Patent is attached hereto as Exhibit 2.

        9.       On June 19, 2012, the United States Patent and Trademark Office issued U.S. Patent

No. 8,205,249 (“the ’249 Patent”), entitled “Method for carrying out a secure electronic transaction

using a portable data support,” after full and fair examination. Plaintiff is the assignee of all rights,

title, and interest in and to the ’249 Patent and possesses all rights of recovery under the ’249

Patent, including the right to recover damages for past, present, and future infringement. The ’249

Patent is valid and enforceable. A true and correct copy of the ’249 Patent is attached hereto as

Exhibit 3.

        10.      On May 8, 2012, the United States Patent and Trademark Office issued U.S. Patent

No. 8,174,360 (“the ’360 Patent”), entitled “Communication apparatus for setting up a data

connection between intelligent devices,” after full and fair examination. Plaintiff is the assignee

of all rights, title, and interest in and to the ’360 Patent and possesses all rights of recovery under

the ’360 Patent, including the right to recover damages for past, present, and future infringement.

The ’360 Patent is valid and enforceable. A true and correct copy of the ’360 Patent is attached

hereto as Exhibit 4.

                                  GOOGLE’S INFRINGEMENT

        11.      The allegations provided below are exemplary and without prejudice to Plaintiff’s

infringement contentions provided pursuant to the Court’s scheduling order and local rules.

Plaintiff’s claim construction contentions regarding the meaning and scope of the claim terms will

be provided under the Court’s scheduling order and local rules. As detailed below, each element

of at least one claim of each of the Asserted Patents is literally present in the accused products. To

the extent that any element is not literally present, each such element is present under the doctrine




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of equivalents. Plaintiff’s analysis below should not be taken as an admission that the preamble is

limiting. While publicly available information is cited below, Plaintiff may rely on other forms of

evidence to prove infringement, including evidence that is solely in the possession of Google

and/or third parties.

        12.     The accused products include at least the following products, as well as products

with reasonably similar functionality and all 5G, XL, and Pro varieties of these products.

Identification of the accused products will be provided in Plaintiff’s infringement contentions

pursuant to the Court’s scheduling order and local rules. Google imports, uses, makes, offers for

sale, and sells in the United States the following products that support NFC and/or mobile payment

applications, such as Google Pay, that infringe at least one claim of the Asserted Patents: Pixel,

Pixel XL, Pixel 2, Pixel 2 XL, Pixel 3, Pixel 3 XL, Pixel 3a, Pixel 3a XL, Pixel 4, Pixel 4 XL,

Pixel 4a, Pixel 4a (5G), Pixel 5, Pixel 5a (5G), Pixel 6, and Pixel 6 Pro (the “Accused Products”).

                                             COUNT I

                        INFRINGEMENT OF U.S. PATENT NO. 8,581,706

        13.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        14.     Google has been and is now directly infringing the ’706 Patent, literally and/or

under the doctrine of equivalents, in violation of 35 U.S.C. § 271(a), including by making, using,

selling, and/or offering for sale in the United States or importing into the United States infringing

products, including at least the Accused Products identified above. The Accused Products satisfy

all of the claim limitations of one or more claims of the ’706 Patent, including but not limited to

claim 11.




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       15.     Claim 11 of the ’706 Patent recites a “contactlessly communicating portable data

carrier.” To the extent the preamble is limiting, the Accused Products each include a portable data

carrier that is capable of contactless communication through the use of Near Field Communication

(NFC) technology. For example, Google advertises that the Accused Products support NFC:




See https://store.google.com/us/product/pixel_5a_5g_specs?hl=en-US.

       16.     Claim 11 of the ’706 Patent recites that the portable data carrier comprises “at least

two applications stored thereon.” The Accused Products are configured to store at least two

applications. For example, the Accused Products are configured to store at least two applications

that utilize NFC:




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See https://developer.android.com/guide/topics/connectivity/nfc/hce.

       17.    Claim 11 of the ’706 Patent recites that the portable data carrier comprises “a

communication device configured to control communication between a reading device and the at

least two applications.” The Accused Products contain a communication device configured to

control communication between a reading device and at least two applications. For example, the

Accused Products utilize an NFC antenna, NFC chip, and related hardware and software to control

communication with a reading device and at least two applications, as shown in the exemplary

Google Pixel 5:




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                                                      NFC




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                                                   NFC Chip




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See https://www.st.com/en/secure-mcus/st54j.html; see also https://www.emvco.com/wp-

content/uploads/approved_products/uploaded/loa/MTA_LOA_GOLL_02519_20Oct20_SHORT.

pdf.




See https://developer.android.com/guide/topics/connectivity/nfc/hce.

       18.    Claim 11 of the ’706 Patent recites “wherein the communication device is set up to

generate communication-readiness signals to the reading device which in each case indicate to the

reading device a communication readiness for one of the applications and comprise an

identification number assigned to the corresponding communication-readiness application.” The

Accused Products contain a communication device that is set up to generate communication-

readiness signals to the reading device which in each case indicate to the reading device a

communication readiness for one of the applications and comprise an identification number

assigned to the corresponding communication-readiness application.           For example, the

communication device generates communication-readiness signals to an NFC reader which

comprise of an Application ID (AID) that corresponds to an application:




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See https://developer.android.com/guide/topics/connectivity/nfc/hce.

       19.     Claim 11 of the ’706 Patent recites “wherein the communication device is set up to

store information in a nonvolatile memory of the data carrier about which of the at least two

applications last communicated with a reading device.” Each of the Accused Products contains a

communication device that is set up to store information in a nonvolatile memory of the data carrier

about which of the at least two applications last communicated with a reading device. For example,

the Accused Products provide information about the last application that last communicated with

a reading device:




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See https://pay.google.com/about/.



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See https://www.st.com/en/secure-mcus/st54j.html.

       20.     Google also knowingly and intentionally induces infringement of one or more

claims of the ’706 Patent in violation of 35 U.S.C. § 271(b). As of at least the filing and service

of this complaint, Google has knowledge of the ’706 Patent and the infringing nature of the

Accused Products. Despite this knowledge of the ’706 Patent, Google continues to actively

encourage and instruct its customers and end users (for example, through user manuals and online

instruction materials on its website, and other online publications cited above) to use the Accused

Products in ways that directly infringe the ’706 Patent, for example by utilizing the NFC

functionality on the Accused Products and/or mobile payment applications, such as Google Pay,

in an infringing manner. Google does so knowing and intending (or with willful blindness to the

fact) that its customers and end users will commit these infringing acts. Google also continues to

make, use, offer for sale, sell, and/or import the Accused Products, despite its knowledge of

the ’706 Patent, thereby specifically intending for and inducing its customers to infringe the ’706

Patent through the customers’ normal and customary use of the Accused Products.

       21.     Google has also infringed, and continues to infringe, one or more claims of the ’706

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’706

Patent, are especially made or adapted to infringe the ’706 Patent, and are not staple articles or


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commodities of commerce suitable for non-infringing use. Google has been, and currently is,

contributorily infringing the ’706 Patent in violation of 35 U.S.C. §§ 271(c) and/or (f).

        22.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Google has injured Plaintiff and is liable for infringement of the ’706 Patent

pursuant to 35 U.S.C. § 271.

        23.     As a result of Google’s infringement of the ’706 Patent, Plaintiff is entitled to

monetary damages (past, present, and future) in an amount adequate to compensate for Google’s

infringement, but in no event less than a reasonable royalty for the use made of the invention by

Google, together with interest and costs as fixed by the Court.

                                             COUNT II

                      INFRINGEMENT OF U.S. PATENT NO. 8,816,827

        24.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        25.     Google has been and is now directly infringing the ’827 Patent, literally and/or

under the doctrine of equivalents, in violation of 35 U.S.C. § 271(a), including by making, using,

selling, and/or offering for sale in the United States or importing into the United States infringing

products, including at least the Accused Products identified above. The Accused Products satisfy

all of the claim limitations of one or more claims of the ’827 Patent, including but not limited to

claim 22.

        26.     Claim 22 of the ’827 Patent recites a “contactlessly communicating portable data

carrier.” To the extent the preamble is limiting, the Accused Products include portable data carriers

that are capable of contactless communication through the use of Near Field Communication

(NFC) technology. For example, Google advertises that the Accused Products support NFC:




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See https://store.google.com/us/product/pixel_5a_5g_specs?hl=en-US.

       27.     Claim 22 of the ’827 Patent recites that the portable data carrier comprises “at least

a first and second application stored thereon.” The Accused Products are configured to store at

least two applications. For example, the Accused Products are configured to store at least two

applications that utilize NFC:




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See https://developer.android.com/guide/topics/connectivity/nfc/hce.

       28.     Claim 22 of the ’827 Patent recites “a communication device for controlling

communication between a reading device and the at least first and second applications.” The

Accused Products contain a communication device configured to control communication between

a reading device and the at least first and second applications. For example, the Accused Products

utilize an NFC antenna, NFC chip, and related hardware and software to control communication

with a reading device and at least a first and second application, as shown in the exemplary Google

Pixel 5:




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                                                      NFC




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                                                    NFC Chip




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See https://www.st.com/en/secure-mcus/st54j.html; see also https://www.emvco.com/wp-

content/uploads/approved_products/uploaded/loa/MTA_LOA_GOLL_02519_20Oct20_SHORT.

pdf.




See https://developer.android.com/guide/topics/connectivity/nfc/hce.

       29.     Claim 22 recites “wherein the communication device is configured to generate a

first communication-readiness signal to the reading device which indicates to the reading device a

communication readiness for the first application and a second communication-readiness signal to

the reading device which indicates the reading device a communication readiness for the second

application and comprise an identification number assigned to the corresponding communication-

readiness application.” The Accused Products contain a communication device that is configured

to generate a first communication-readiness signal to the reading device which indicates to the

reading device a communication readiness for the first application and a second communication-

readiness signal to the reading device which indicates the reading device a communication

readiness for the second application and comprise an identification number assigned to the



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corresponding communication-readiness application. For example, the communication device

generates communication-readiness signals to an NFC reader which comprise of an Application

ID (AID) that corresponds to an application:




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See https://developer.android.com/guide/topics/connectivity/nfc/hce.

       30.     Claim 22 of the ’827 Patent recites “wherein the first communication-readiness

signal is generated for a first group of applications comprising a first plurality of applications

including the first application, and the first identification number is assigned to every application

in the first group, and the second communication-readiness signal is generated for a second group

of applications comprising a second plurality of applications including the second application, and

the second identification number is assigned to every application in the second group, the first

communication-readiness signal indicating to the reading device the communication readiness of


                                                 22
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every application of the first group, and the second communication-readiness signal indicating to

the reading device the communication readiness of every application of the second group.” The

Accused Products generate the first communication-readiness signal for a first group of

applications comprising a first plurality of applications including the first application, and the first

identification number is assigned to every application in the first group, and the second

communication-readiness signal is generated for a second group of applications comprising a

second plurality of applications including the second application, and the second identification

number is assigned to every application in the second group, the first communication-readiness

signal indicating to the reading device the communication readiness of every application of the

first group, and the second communication-readiness signal indicating to the reading device the

communication readiness of every application of the second group. For example, the Accused

Products are configured to generate Application IDs (AID) for at least a first and second group of

applications:




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See https://developer.android.com/guide/topics/connectivity/nfc/hce.

       31.     Google also knowingly and intentionally induces infringement of one or more

claims of the ’827 Patent in violation of 35 U.S.C. § 271(b). As of at least the filing and service

of this complaint, Google has knowledge of the ’827 Patent and the infringing nature of the

Accused Products. Despite this knowledge of the ’827 Patent, Google continues to actively

encourage and instruct its customers and end users (for example, through user manuals and online

instruction materials on its website, and other online publications cited above) to use the Accused

Products in ways that directly infringe the ’827 Patent, for example by utilizing the NFC

functionality on the Accused Products and/or mobile payment applications, such as Google Pay,

in an infringing manner. Google does so knowing and intending (or with willful blindness to the

fact) that its customers and end users will commit these infringing acts. Google also continues to



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make, use, offer for sale, sell, and/or import the Accused Products, despite its knowledge of

the ’827 Patent, thereby specifically intending for and inducing its customers to infringe the ’827

Patent through the customers’ normal and customary use of the Accused Products.

        32.     Google has also infringed, and continues to infringe, one or more claims of the ’827

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’827

Patent, are especially made or adapted to infringe the ’827 Patent, and are not staple articles or

commodities of commerce suitable for non-infringing use. Google has been, and currently is,

contributorily infringing the ’827 Patent in violation of 35 U.S.C. §§ 271(c) and/or (f).

        33.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Google has injured Plaintiff and is liable for infringement of the ’827 Patent

pursuant to 35 U.S.C. § 271.

        34.     As a result of Google’s infringement of the ’827 Patent, Plaintiff is entitled to

monetary damages (past, present, and future) in an amount adequate to compensate for Google’s

infringement, but in no event less than a reasonable royalty for the use made of the invention by

Google, together with interest and costs as fixed by the Court.

                                            COUNT III

                      INFRINGEMENT OF U.S. PATENT NO. 8,205,249

        35.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        36.     Google has been and is now directly infringing the ’249 Patent, literally and/or

under the doctrine of equivalents, in violation of 35 U.S.C. § 271(a), including by making, using,

selling, and/or offering for sale in the United States or importing into the United States infringing




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products, including at least the Accused Products identified above. The Accused Products satisfy

all of the claim limitations of one or more claims of the ’249 Patent, including but not limited to

claim 10.

       37.     Claim 10 recites a “portable data carrier for performing a security-operation within

a secure electronic transaction.” To the extent the preamble is limiting, the Accused Products

include a portable data carrier for performing a security-operation within a secure electronic

transaction. For example, the Accused Products support mobile payment applications, such as

Google Pay, which enable a security-operation within a secure electronic transaction:




See https://support.google.com/pixelphone/answer/3470787?hl=en.




See https://support.google.com/pay/answer/9026749?hl=en&ref_topic=7625138.




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See https://safety.google/pay/.

       38.     Claim 10 of the ’249 Patent recites that the portable data carrier is “arranged to

perform different quality user authentication methods.” To the extent the preamble is limiting, the

Accused Products include a portable data carrier that is arranged to perform different quality user

authentication methods. For example, the Accused Products support mobile payment applications,

such as Google Pay, which utilize different quality user authentication methods:




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https://support.google.com/pay/answer/7625139?hl=en&co=GENIE.Platform%3DAndroid&oco

=1#zippy=%2Cadd-a-debit-or-credit-card.




See https://safety.google/pay/.




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See https://support.google.com/pay/answer/7644132?co=GENIE.Platform=Android&hl=en.




See https://developers.google.com/pay/transit/open-loop/mobile-features/skip-device-unlock.

       39.     Claim 10 recites “wherein the difference in quality of said user authentication

methods varies between an inherently relatively lower quality and an inherently relatively higher

quality from a security perspective.” To the extent the preamble is limiting, the Accused Products

include a data carrier arranged to perform different quality user authentication methods, wherein

the difference in quality of said user authentication methods varies between an inherently relatively

lower quality and an inherently relatively higher quality from a security perspective. For example,

the Accused Products support mobile payment applications, such as Google Pay, which utilize

different authentication methods that vary in quality from a security perspective:




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See https://safety.google/pay/.




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See https://support.google.com/pay/answer/7644132?co=GENIE.Platform=Android&hl=en.




See https://developers.google.com/pay/transit/open-loop/mobile-features/skip-device-unlock.

       40.     Claim 10 of the ’249 Patent recites that “the portable data carrier is arranged to

perform a user authentication using one of said implemented user authentication methods.” The

Accused Products include a portable data carrier arranged to perform a user authentication using

one of said implemented user authentication methods. For example, the Accused Products support

mobile payment applications, such as Google Pay, which utilize different user authentication

methods:




See https://safety.google/pay/.




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See https://support.google.com/pay/answer/7644132?co=GENIE.Platform=Android&hl=en.




See https://developers.google.com/pay/transit/open-loop/mobile-features/skip-device-unlock.




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         41.    Claim 10 of the ’249 Patent recites that “the portable data carrier is arranged to

 confirm the authentication to a terminal.” The Accused Products include a portable data carrier

 arranged to confirm the authentication to a terminal. For example, the Accused Products support

 mobile payment applications, such as Google Pay, and confirm the authentication to a terminal:




See https://support.google.com/pay/answer/7644134?hl=en&co=GENIE.Platform%3DAndroid.




See https://support.google.com/pay/merchants/answer/6345242?hl=en#zippy=%2Cdetailed-

google-pay-transaction-process-in-stores.

         42.    Claim 10 of the ’249 Patent recites “wherein the data carrier is arranged to create

 quality information about said user authentication method used and to attach such quality

 information to the result of the security establishing operation.” The Accused Products include a

 portable data carrier that is arranged to create quality information about the user authentication

 method used and to attach such quality information to the result of the security establishing

 operation. For example, on information and belief, the Accused Products include a data carrier

 that creates quality information about the type of authentication method used by a user and attaches

 that information to the result of the security establishing operation in an electronic transaction.



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       43.     Google also knowingly and intentionally induces infringement of one or more

claims of the ’249 Patent in violation of 35 U.S.C. § 271(b). As of at least the filing and service

of this complaint, Google has knowledge of the ’249 Patent and the infringing nature of the

Accused Products. Despite this knowledge of the ’249 Patent, Google continues to actively

encourage and instruct its customers and end users (for example, through user manuals and online

instruction materials on its website, and other online publications cited above) to use the Accused

Products in ways that directly infringe the ’249 Patent, for example by utilizing the NFC

functionality on the Accused Products and/or mobile payment applications, such as Google Pay,

in an infringing manner. Google does so knowing and intending (or with willful blindness to the

fact) that its customers and end users will commit these infringing acts. Google also continues to

make, use, offer for sale, sell, and/or import the Accused Products, despite its knowledge of

the ’249 Patent, thereby specifically intending for and inducing its customers to infringe the ’249

Patent through the customers’ normal and customary use of the Accused Products.

       44.     Google has also infringed, and continues to infringe, one or more claims of the ’249

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’249

Patent, are especially made or adapted to infringe the ’249 Patent, and are not staple articles or

commodities of commerce suitable for non-infringing use. Google has been, and currently is,

contributorily infringing the ’249 Patent in violation of 35 U.S.C. §§ 271(c) and/or (f).

       45.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Google has injured Plaintiff and is liable for infringement of the ’249 Patent

pursuant to 35 U.S.C. § 271.




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        46.     As a result of Google’s infringement of the ’249 Patent, Plaintiff is entitled to

monetary damages (past, present, and future) in an amount adequate to compensate for Google’s

infringement, but in no event less than a reasonable royalty for the use made of the invention by

Google, together with interest and costs as fixed by the Court.

                                            COUNT IV

                      INFRINGEMENT OF U.S. PATENT NO. 8,174,360

        47.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        48.     Google has been and is now directly infringing the ’360 Patent, literally and/or

under the doctrine of equivalents, in violation of 35 U.S.C. § 271, including by making, using,

selling, and/or offering for sale in the United States or importing into the United States infringing

products, including at least the Accused Products identified above. The Accused Products satisfy

all of the claim limitations of one or more claims of the ’360 Patent, including but not limited to

claim 1.

        49.     Claim 1 of the ’360 Patent recites a “communication apparatus for setting up a data

connection between intelligent devices.” To the extent the preamble is limiting, the Accused

Products include a communication apparatus for setting up a data connection between intelligent

devices. For example, Google advertises that the Accused Products support NFC:




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See https://store.google.com/us/product/pixel_5a_5g_specs?hl=en-US.

       50.    Claim 1 of the ’360 Patent recites an “apparatus” comprising “a transmission

oscillator for carrying out a contactless data exchange, said oscillator including a coil.” The

Accused Products include a transmission oscillator for carrying out a contactless data exchange,

said oscillator including a coil. For example, the Accused Products include an NFC antenna, NFC

chip, and related hardware and software, as shown in the exemplary Google Pixel 5:




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                                                      NFC




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                                                    NFC Chip




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See https://www.st.com/en/secure-mcus/st54j.html; see also https://www.emvco.com/wp-

content/uploads/approved_products/uploaded/loa/MTA_LOA_GOLL_02519_20Oct20_SHORT.

pdf.

       51.     Claim 1 of the ’360 Patent recites an “apparatus” comprising “a communication

element which is connected to the coil and to a data processing component of an intelligent device

and which emits search signals via the coil to receive a response from another intelligent device.”

The Accused Products include a communication element which is connected to the coil and to a

data processing component of an intelligent device and which emits search signals via the coil to

receive a response from another intelligent device. For example, teardowns show that the Accused

Products include an NFC antenna, NFC chip, and related hardware and software, as shown in the

exemplary Google Pixel 5:




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                                                      NFC




                                                    NFC Chip




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See https://www.st.com/en/secure-mcus/st54j.html; see also https://www.emvco.com/wp-

content/uploads/approved_products/uploaded/loa/MTA_LOA_GOLL_02519_20Oct20_SHORT.

pdf.

       52.    Claim 1 of the ’360 Patent recites an “apparatus” comprising “a measuring device

for monitoring a property of the transmission oscillator which outputs a control signal when

ascertaining a change of the monitored property, the monitored property of the transmission

oscillator includes the frequency or impedance of the transmission oscillator in resonance.” The

Accused Products include a measuring device for monitoring a property of the transmission

oscillator which outputs a control signal when ascertaining a change of the monitored property,

the monitored property of the transmission oscillator includes the frequency or impedance of the




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transmission oscillator in resonance. For example, on information and belief, the Accused

Products include low power modes for the NFC functionality that satisfy this limitation:




See https://www.st.com/en/secure-mcus/st54j.html#overview&secondary=st_all-features_sec-

nav-tab/.

        53.     Claim 1 of the ’360 Patent recites an “apparatus” comprising “a switching apparatus

which is connected to the measuring device and the communication element and which switches

on the communication element when it has received the control signal from the measuring device

by connecting the communication element to an energy source.” The Accused Products include a

switching apparatus which is connected to the measuring device and the communication element

and which switches on the communication element when it has received the control signal from

the measuring device by connecting the communication element to an energy source. For example,

on information and belief, the Accused Products include low power modes for the NFC

functionality that satisfy this limitation.




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See https://www.st.com/en/secure-mcus/st54j.html#overview&secondary=st_all-features_sec-

nav-tab/.

       54.      Google also knowingly and intentionally induces infringement of one or more

claims of the ’360 Patent in violation of 35 U.S.C. § 271(b). As of at least the filing and service

of this complaint, Google has knowledge of the ’360 Patent and the infringing nature of the

Accused Products. Despite this knowledge of the ’360 Patent, Google continues to actively

encourage and instruct its customers and end users (for example, through user manuals and online

instruction materials on its website, and other online publications cited above) to use the Accused

Products in ways that directly infringe the ’360 Patent, for example by utilizing the NFC

functionality on the Accused Products, in an infringing manner. Google does so knowing and

intending (or with willful blindness to the fact) that its customers and end users will commit these

infringing acts. Google also continues to make, use, offer for sale, sell, and/or import the Accused

Products, despite its knowledge of the ’360 Patent, thereby specifically intending for and inducing

its customers to infringe the ’360 Patent through the customers’ normal and customary use of the

Accused Products.




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       55.     Google has also infringed, and continues to infringe, one or more claims of the ’360

Patent by selling, offering for sale, or importing into the United States, the Accused Products,

knowing that the Accused Products constitute a material part of the inventions claimed in the ’360

Patent, are especially made or adapted to infringe the ’360 Patent, and are not staple articles or

commodities of commerce suitable for non-infringing use. Google has been, and currently is,

contributorily infringing the ’360 Patent in violation of 35 U.S.C. §§ 271(c) and/or (f).

       56.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Google has injured Plaintiff and is liable for infringement of the ’360 Patent

pursuant to 35 U.S.C. § 271.

       57.     As a result of Google’s infringement of the ’360 Patent, Plaintiff is entitled to

monetary damages (past, present, and future) in an amount adequate to compensate for Google’s

infringement, but in no event less than a reasonable royalty for the use made of the invention by

Google, together with interest and costs as fixed by the Court.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter:

       a.      A judgment in favor of Plaintiff that Google has infringed, either literally and/or

under the doctrine of equivalents, the ’706, ’827, ’249, and ’360 Patents;

       b.      A judgment and order requiring Google to pay Plaintiff its damages (past, present,

and future), costs, expenses, and pre-judgment and post-judgment interest for Google’s

infringement of the ’706, ’827, ’249, and ’360 Patents;

       c.      A judgment and order requiring Google to pay Plaintiff compulsory ongoing

licensing fees, as determined by the Court in equity.

       d.      A judgment and order requiring Google to provide an accounting and to pay




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supplemental damages to Plaintiff, including without limitation, pre-judgment and post-judgment

interest and compensation for infringing products released after the filing of this case that are not

colorably different from the accused products;

       e.        A judgment and order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees against Google; and

       f.        Any and all other relief as the Court may deem appropriate and just under the

circumstances.

                                  DEMAND FOR JURY TRIAL

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.


Dated: October 25, 2021                       Respectfully submitted,

                                              /s/Brett E. Cooper

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